1A
 /2009
 /2011
 101-7-TFR
 3ems Inc.
                                                           UNITED STATES BANKRUPTCY COURT
                                                                 DISTRICT OF KANSAS


                   In re:                                                                          §
                                                                                                   §
                   WELSH, LELAND DONALD                                                            §           Case No. 17-41273
                   WELSH, KIM MICHELLE                                                             §
                                                                                                   §
                                                                 Debtors                           §

                                                                TRUSTEE’S FINAL REPORT (TFR)

                              The undersigned trustee hereby makes this Final Report and states as follows:

                          1. A petition under chapter 7 of the United States Bankruptcy Code was filed on
                    10/25/2017 . The undersigned trustee was appointed on 10/25/2017 .

                              2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                           3. All scheduled and known assets of the estate have been reduced to cash, released to
                   the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
                   pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
                   disposition of all property of the estate is attached as Exhibit A.

                              4. The trustee realized gross receipts of                                             $                 7,369.00

                                                     Funds were disbursed in the following amounts:

                                                     Payments made under an interim                                                          0.00
                                                     disbursement
                                                     Administrative expenses                                                               0.00
                                                     Bank service fees                                                                    30.93
                                                     Other payments to creditors                                                           0.00
                                                     Non-estate funds paid to 3rd Parties                                                  0.00
                                                     Exemptions paid to the debtor                                                         0.00
                                                     Other payments to the debtor                                                        537.38
                                                                                               1
                                                     Leaving a balance on hand of                                   $                 6,800.69

                    The remaining funds are available for distribution.

             ____________________
                        1
                           The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
             will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
             maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

             6. The deadline for filing non-governmental claims in this case was 05/29/2018 and the
      deadline for filing governmental claims was 05/29/2018 . All claims of each class which will
      receive a distribution have been examined and any objections to the allowance of claims have
      been resolved. If applicable, a claims analysis, explaining why payment on any claim is not
      being made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 1,433.16 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 1,433.16 , for a total compensation of $ 1,433.16 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 115.58 , for total expenses of $ 115.58 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 07/31/2018                                     By:/s/Robert L. Baer, Trustee
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                                FORM 1
                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                  Page:      1
                                                                                             ASSET CASES                                                                                                   Exhibit A
Case No:            17-41273         JMK     Judge: JANICE MILLER KARLIN                                                              Trustee Name:                     Robert L. Baer, Trustee
Case Name:          WELSH, LELAND DONALD                                                                                             Date Filed (f) or Converted (c):   10/25/17 (f)
                    WELSH, KIM MICHELLE                                                                                              341(a) Meeting Date:               11/28/17
For Period Ending: 07/31/18                                                                                                          Claims Bar Date:                   05/29/18



                                        1                                            2                          3                         4                         5                                 6
                                                                                                       Estimated Net Value
                                                                                 Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                                 Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                        Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. Single-family home,                                                            189,000.00                             0.00                                               0.00                  FA
 3411 Tulane Lane Lot 4 Block
     Although the Debtors valued this at $189,000, they testified it had been
     listed with a realtor for 9 months at $179,000 and no offers were
     received. They also understated the secured debt.
 2. Single-family home,                                                            167,865.50                             0.00                                               0.00                  FA
 911 Nicholson Rd.Chapman KS 6
     Debtor Claimed Exemption
 3. 2008 Chev Pickup mileage: 110,000                                                3,000.00                             0.00                                               0.00                  FA
     Debtor Claimed Exemption
 4. 2011 Buick Enclave mileage: 75000                                               21,000.00                             0.00                                               0.00                  FA
     Debtor Claimed Exemption
 5. 16 X 80 Mobile Home (This is a demolished trailer                                      0.00                           0.00                                               0.00                  FA
 6. debtors ordinary replacement value of household go                               7,500.00                             0.00                                               0.00                  FA
     Debtor Claimed Exemption
 7. 3 cellphone, 4 televisions, 2 laptops                                                250.00                           0.00                                               0.00                  FA
 8. 1 308 pistol and 1-410 shotgun                                                       200.00                        200.00                                                0.00                  FA
 9. ordinary replacement value of clothing                                           2,500.00                             0.00                                               0.00                  FA
     Debtor Claimed Exemption
 10. wedding rings and items of costume jewelry                                      1,500.00                             0.00                                               0.00                  FA
     Debtor Claimed Exemption
 11. Astra Bank                                                                          100.00                        100.00                                                0.00                  FA
 12. Astra Bank 2 individual accounts ($100.00 per bank                                  200.00                        200.00                                                0.00                  FA
 13. Merritt Trust - Kim Welsch                                                            5.00                           5.00                                               0.00                  FA
 14. civil service pension for Kim Welsh                                             Unknown                              0.00                                               0.00                  FA
     Debtor Claimed Exemption




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                                                                                                  FORM 1
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:       2
                                                                                               ASSET CASES                                                                                                             Exhibit A
Case No:             17-41273       JMK     Judge: JANICE MILLER KARLIN                                                                         Trustee Name:                     Robert L. Baer, Trustee
Case Name:           WELSH, LELAND DONALD                                                                                                      Date Filed (f) or Converted (c):   10/25/17 (f)
                     WELSH, KIM MICHELLE                                                                                                       341(a) Meeting Date:               11/28/17
                                                                                                                                               Claims Bar Date:                   05/29/18



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 15. Ditech has a claim for the insurance proceeds and                                      Unknown                                 0.00                                               0.00                     FA
 16. 2017 Tax Refunds (u)                                                                    6,831.62                          3,000.00                                            6,831.62                     FA

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $399,952.12                          $3,505.00                                           $6,831.62                            $0.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   Fully collected and claims review completed;


   Initial Projected Date of Final Report (TFR): 11/28/18           Current Projected Date of Final Report (TFR): 07/31/18




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                                                                                                  FORM 2                                                                                       Page:    1
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit B
  Case No:           17-41273 -JMK                                                                                          Trustee Name:                      Robert L. Baer, Trustee
  Case Name:         WELSH, LELAND DONALD                                                                                   Bank Name:                         BOK FINANCIAL
                     WELSH, KIM MICHELLE                                                                                    Account Number / CD #:             *******7201 Checking Account
  Taxpayer ID No:    *******2566
  For Period Ending: 07/31/18                                                                                               Blanket Bond (per case limit):     $ 25,100,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                              3                                                 4                                            5                        6                 7
    Transaction       Check or                                                                                                     Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
                                                                                  BALANCE FORWARD                                                                                                           0.00
          04/17/18                 UNITED STATES TREASURY                         PYMT OF 2017 TAX REFUNDS                                                   5,006.00                                  5,006.00
                                   2017 FEDERAL TAX REFUND
                         16                                                           Memo Amount:             4,633.88           1224-000
                                                                                  Estate's Share of Tax Refund
                                                                                      Memo Amount:              372.12            1280-000
                                                                                  Joint Debtor's Share of Tax Refund
          04/17/18                 UNITED STATES TREASURY                         PYMT OF 2017 TAX REFUNDS                                                   2,363.00                                  7,369.00
                                   2017 FEDERAL TAX REFUND
                         16                                                           Memo Amount:             2,197.74           1224-000
                                                                                  Estate's Share of Tax Refund
                                                                                     Memo Amount:              165.26             1280-000
                                                                                  Debtor's Share of Tax Refund
          04/30/18                 BOK FINANCIAL                                  BANK SERVICE FEE                                2600-000                                            10.00            7,359.00
          05/21/18     000101      LELAND DONALD WELSH                            PRO RATA SHARE/2017 FED TAX REFUND              8500-002                                           165.26            7,193.74
                                   911 NICHOLSON ROAD                             PER ORDER 5/16/18
                                   CHAPMAN, KS 67431
          05/21/18     000102      KIM MICHELLE WELSH                             PRO RATA SHARE/2017 FED TAX REFUND              8500-002                                           372.12            6,821.62
                                   911 NICHOLSON ROAD                             PER ORDER 5/16/18
                                   CHAPMAN, KS 67431
          05/31/18                 BOK FINANCIAL                                  BANK SERVICE FEE                                2600-000                                            10.93            6,810.69
          06/29/18                 BOK FINANCIAL                                  BANK SERVICE FEE                                2600-000                                            10.00            6,800.69




                                                                                                                            Page Subtotals                   7,369.00                 568.31
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                                                                                                   FORM 2                                                                                                  Page:      2
                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                    Exhibit B
  Case No:           17-41273 -JMK                                                                                            Trustee Name:                       Robert L. Baer, Trustee
  Case Name:         WELSH, LELAND DONALD                                                                                     Bank Name:                          BOK FINANCIAL
                     WELSH, KIM MICHELLE                                                                                      Account Number / CD #:              *******7201 Checking Account
  Taxpayer ID No:    *******2566
  For Period Ending: 07/31/18                                                                                                 Blanket Bond (per case limit):      $ 25,100,000.00
                                                                                                                              Separate Bond (if applicable):


          1                2                                3                                             4                                                 5                          6                         7
    Transaction       Check or                                                                                                       Uniform                                                               Account / CD
       Date           Reference                   Paid To / Received From                     Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)

                                            Memo Allocation Receipts:             7,369.00                COLUMN TOTALS                                         7,369.00                    568.31                    6,800.69
                                        Memo Allocation Disbursements:                0.00                    Less: Bank Transfers/CD's                             0.00                      0.00
                                                                                                          Subtotal                                              7,369.00                    568.31
                                                   Memo Allocation Net:           7,369.00                    Less: Payments to Debtors                                                     537.38
                                                                                                          Net
                                                                                                                                                                7,369.00                     30.93
                                                                                                                                                                                  NET                             ACCOUNT
                     Total Allocation Receipts:             7,369.00                                      TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
               Total Allocation Disbursements:                  0.00                                      Checking Account - ********7201                      7,369.00                        30.93                  6,800.69
                                                                                                                                                  ------------------------    ------------------------   ------------------------
                   Total Memo Allocation Net:               7,369.00
                                                                                                                                                               7,369.00                        30.93                  6,800.69
                                                                                                                                                  ==============             ==============              ==============
                                                                                                                                                   (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                              Transfers)               To Debtors)                    On Hand




                                                                                                                              Page Subtotals                        0.00                        0.00
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                                                                         EXHIBIT C
 Page 1                                                                                                                             Date: July 31, 2018
                                                                ANALYSIS OF CLAIMS REGISTER

 Case Number:      17-41273                                           Claim Class Sequence
 Debtor Name:      WELSH, LELAND DONALD


Code #              Creditor Name & Address         Claim Class      Notes                      Amount Allowed       Paid to Date      Claim Balance

               ROBERT L. BAER                       Administrative                                      $90.00              $0.00               $90.00
200
3110-00



000001         TD Bank USA                          Unsecured           Filed 02/20/18                $3,294.85             $0.00            $3,294.85
500            by American InfoSource LP as agent
7100-00        PO Box 248866
               Oklahoma City OK 73124-8866

000002         Heart and Vascular Clinics LLC       Unsecured           Filed 02/28/18                 $120.00              $0.00              $120.00
500            Box 803
7100-00        Manhattan KS 66505

000003         Capital One Bank USA NA              Unsecured           Filed 03/08/18                $2,448.81             $0.00            $2,448.81
500            PO Box 71083
7100-00        Charlotte NC 28272-1083

000004         Kansas Gas Service                   Unsecured           Filed 04/09/18                 $125.00              $0.00              $125.00
500            Box 3535
7100-00        Topeka KS 66601

000005         Synchrony Bank                      Unsecured            Filed 05/18/18                 $135.72              $0.00              $135.72
500            c/o PRA Receivables Management, LLC
7100-00        PO Box 41031
               Norfolk VA 23541



                  Case Totals:                                                                        $6,214.38             $0.00            $6,214.38
 Code #: Trustee's Claim Number, Priority Code, Claim Type




CREGISTRUST   Form 101-7-TFR (5/1/2011) (Page: 7)                                                            Printed: 07/31/18 11:46 AM     Ver: 20.00j
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                                          TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

     Case No.: 17-41273
     Case Name: WELSH, LELAND DONALD
                 WELSH, KIM MICHELLE
     Trustee Name: Robert L. Baer, Trustee
                         Balance on hand                                              $                  6,800.69

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                            Interim Payments Proposed
                         Reason/Applicant              Total Requested      to Date          Payment
       Trustee Fees: Robert L. Baer, Trustee          $         1,433.16 $                0.00 $         1,433.16
       Trustee Expenses: Robert L. Baer, Trustee      $           115.58 $                0.00 $          115.58
       Attorney for Trustee Fees: ROBERT L.
       BAER                                           $               90.00 $             0.00 $             90.00
                 Total to be paid for chapter 7 administrative expenses               $                  1,638.74
                 Remaining Balance                                                    $                  5,161.95


               Applications for prior chapter fees and administrative expenses have been filed as follows:


                                                             NONE


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 0.00 must be paid in advance of any dividend to general (unsecured) creditors.

                 Allowed priority claims are:




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                                                             NONE


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 6,124.38 have been allowed and will
     be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 84.3 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                       Allowed Amount       Interim Payments Proposed
     Claim No.            Claimant                     of Claim             to Date          Payment
     000001               TD Bank USA                $         3,294.85 $              0.00 $          2,777.07
                          Heart and Vascular Clinics
     000002               LLC                        $           120.00 $              0.00 $            101.14
     000003               Capital One Bank USA NA $            2,448.81 $              0.00 $          2,063.99
     000004               Kansas Gas Service         $           125.00 $              0.00 $            105.36
     000005               Synchrony Bank             $           135.72 $              0.00 $            114.39
                 Total to be paid to timely general unsecured creditors               $                5,161.95
                 Remaining Balance                                                    $                     0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                             NONE




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            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:


                                                          NONE




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